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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, TYLER MAGILL, APRIL
    MUNIZ, HANNAH PEARCE, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, and JOHN DOE,

                             Plaintiffs,

    –v–

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,                   Civil Action No. 3:17-cv-00072-NKM
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSELY,
    IDENTITY EVROPA, MATTHEW                    JURY TRIAL DEMANDED
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                              Defendants.



         [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO ENJOIN
      DEFENDANT CANTWELL FROM MAKING UNLAWFUL THREATS AGAINST
                    PLAINTIFFS AND PLAINTIFFS’ COUNSEL
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          Plaintiffs submitted their Motion to Enjoin Defendant Cantwell From Making Unlawful

   Threats Against Plaintiffs and Plaintiffs’ Counsel (“Motion”) with this Court on July 2, 2019.

   This Court, being sufficiently advised, has considered this Motion and argument, and pursuant to

   the Court’s inherent power, GRANTS this Motion.

          IT IS HEREBY ORDERED that Defendant Christopher Cantwell refrain from making

   unlawful threats against Plaintiffs and Plaintiffs’ counsel during the course of this litigation. The

   Clerk of this Court is hereby directed to send a certified copy of this Order to all parties and/or

   counsel of record.

          IT IS SO ORDERED.

          Entered this ___ day of July, 2019.


                                                         ___________________________________
                                                         THE HONORABLE NORMAN K. MOON
                                                         UNITED STATES DISTRICT JUDGE




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